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                         IN UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

                                                     )
 In re:                                              )   Chapter 7
                                                     )
 ART VAN FURNITURE, LLC, et al.,                     )   Case No. 20-10553 (CSS)
                                                     )
                         Debtors.                    )   (Jointly Administered)
                                                     )
                                                     )   Re: Docket Nos. 327, 433, 435

   ORDER MODIFYING THE AUTOMATIC STAY TO PERMIT LIQUIDATION OR
        ABANDONMENT BY KUEHNE + NAGEL INC. OF COLLATERAL

                Upon the motion (the “Motion”) filed by Kuehne + Nagel Inc. (“K+N”) for

modification of the automatic stay, for cause, to permit the liquidation or abandonment of

collateral; and this Court having jurisdiction to consider the Motion and the relief requested

therein pursuant to 28 U.S.C. §§ 157 and 1334, and the Amended Standing Order of Reference

from the United States District Court for the District of Delaware dated February 29, 2012; and

consideration of the Motion and the requested relief being a core proceeding pursuant to 28

U.S.C. § 157(b); and venue being proper before this Court pursuant to 28 U.S.C. §§ 1408 and

1409; and due and proper notice of the Motion having been provided to the parties listed therein,

and it appearing that no other or further notice need be provided; and this Court having reviewed

the Motion; and the Court having considered the Limited Objection of the Commonwealth of

Pennsylvania to the Motion [D.I. 433] (the “Limited Objection”); and the Court having overruled

the Limited Objection for the reasons stated at the hearing on May 5, 2020; and the Trustee, the

ABL Lender, and K+N having agreed on terms for the consensual resolution of the Motion; and

it appearing that settlement of the issues raised in the Motion on the terms set forth herein is in

the best interests of the estates, creditors, and all parties in interests; and upon all of the
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proceedings had before this Court and after due deliberation and sufficient cause appearing

therefor,


IT IS HEREBY ORDERED THAT:

                    1.       The Motion is granted as set forth herein.

                    2.       The automatic stay is hereby modified with the consent of the Trustee, in

consultation with the ABL Lender, to allow K+N to liquidate, or, when commercially reasonable,

to abandon, the Goods1.

                    3.       The liquidation or abandonment of the Goods shall not be construed as a

waiver by K+N with respect to any and all claims they have against the estates, all of which are

expressly preserved in full, along with objections and responses of all parties in interest thereto.

                    4.       K+N shall provide an accounting of all dispositions and recoveries with

respect to the Goods to the Trustee and the ABL Lender on a bi-weekly basis, beginning on June

1, 2020 and continuing every two weeks thereafter until the Goods are fully disposed.

                    5.       K+N shall not liquidate any Goods that are the subject of Jofran Sales, Inc.’s

litigation at Adv Pro.No. 20-50546, but rather shall cause such Goods to be segregated and

disposed or destroyed such that they are removed from the stream of commerce and are not resold,

transferred for sale, or otherwise continue in the stream of commerce, other than as agreed between

Jofran Sales, Inc. and K+N.

                    6.       The Court shall retain jurisdiction with respect to all matters arising from or

relating to the interpretation or implementation of this Order.




            Dated: May 5th, 2020                               CHRISTOPHER S. SONTCHI
1
            Wilmington, Delaware                               UNITED STATES BANKRUPTCY JUDGE
    Capitalized terms used but not defined herein have the meanings ascribed to them in the Motion.



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